                        IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                   NORTHERN DIVISION

                                                                  )
    In re:                                                        ) Chapter 11
                                                                  )
    REMINGTON OUTDOOR COMPANY, INC.,                              ) Case No. 20-81688-CRJ11
    et al., 1                                                     )
                                                                  ) Jointly Administered
                            Debtors.                              )
                                                                  )



                                        AFFIDAVIT OF SERVICE

       I, Jason Sugarman, depose and say that I am employed by Prime Clerk LLC (“Prime
Clerk”), the claims, noticing, and solicitation agent for the Debtors in the above-captioned
chapter 11 cases.

       On March 23, 2022, at my direction and under my supervision, employees of Prime Clerk
caused the following documents to be served by the method set forth on the Master Service List
attached hereto as Exhibit A:

       •     Order Vacating Remote Hearing by Microsoft Teams and Scheduling Telephonic
             Hearing on Motion Filed by Ironshore Specialty Insurance Company for Approval of
             Settlement Payment to The Sandy Hook Families [Docket No. 2430]

       •     Plan Administrator's Third Motion to Extend Period to Object to Proofs of Claim
             [Docket No. 2431]

       •     Plan Administrator's Motion for Expedited Hearing on Plan Administrator's Third
             Motion to Extend Period to Object to Proofs of Claim [Docket No. 2432]



1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
(3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
Services, LLC (2405). The Debtors’ Corporate Headquarters are located at 100 Electronics Boulevard SW, Huntsville,
AL 35824.




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Dated: March 28, 2022

                                                        /s/ Jason Sugarman
                                                        Jason Sugarman
State of New York
County of New York

Subscribed and sworn (or affirmed) to me on March 28, 2022, by Jason Sugarman, proved to me
on the bases of satisfactory evidence to be the person who executed this affidavit.

/s/ OLEG BITMAN
Notary Public, State of New York
No. 01BI6339574
Qualified in Queens County
Commission Expires April 4, 2024




                                             2                                    SRF 60455
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                                  Exhibit A




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                                                                                                                          Exhibit A
                                                                                                                      Master Service List
                                                                                                                   Served as set forth below

                     DESCRIPTION                                               NAME                                                    ADDRESS                                             EMAIL                 METHOD OF SERVICE
                                                                                                     Attn: Sarah Link Schultz
                                                                                                     2300 N. Field Street
                                                                                                     Suite 1800
Counsel to Plan Administrator                              Akin Gump Strauss Hauer & Feld LLP        Dallas TX 75201                                                      sschultz@akingump.com               Email
                                                                                                     Attn: Richard M. Blythe, Thomas Corbett
                                                                                                     Northern District of Alabama
                                                                                                     PO Box 3045                                                          Richard_Blythe@alnba.uscourts.gov
The Bankruptcy Administrator                               Assistant U.S. Bankruptcy Administrator   Decatur AL 35602                                                     Thomas_Corbett@alnba.uscourts.gov   First Class Mail and Email
                                                                                                     Attn: Shraddha Bharatia
                                                                                                     PO Box 3001
Counsel to AMEX TRS Co., Inc.                              Becket & Lee LLP                          Malvern PA 19355-0701                                                                                    First Class Mail
                                                                                                     Attn: N. Chris Glenos
                                                                                                     1819 Fifth Avenue North
Counsel to Mascon, Inc.                                    Bradley Arant Boult Cummings LLP          Birmingham AL 35203                                                  cglenos@bradley.com                 Email
                                                                                                     Derek F. Meek; Hanna Lahr, James P. Roberts, D. Christopher Carson   dmeek@burr.com
                                                                                                     420 20th Street North                                                hlahr@burr.com
                                                                                                     Suite 3400                                                           jroberts@burr.com
Counsel to Plan Administrator                              Burr & Forman LLP                         Birmingham AL 35203                                                  ccarson@burr.com                    Email
                                                                                                     Attn: PRESIDENT OR GENERAL COUNSEL
                                                                                                     440 Mamaroneck Avenue
                                                                                                     5th Floor
Counsel to GUC Oversight Committee                         Dundon Advisors                           Harrison NY 10528                                                    md@dundon.com                       Email
                                                                                                     Attn: Eduardo DeMarco
Counsel to Lloyd’s Syndicate No. 0033 and Lloyd’s                                                    120 Mountain View Blvd
Syndicate 1301                                             Kennedys CMK LLP                          Basking Ridge NJ 07920                                               Eduardo.DeMarco@Kennedyslaw.com     Email
                                                                                                     Attn: Kathleen M. Aiello
                                                                                                     200 West 41st Street
                                                           Klestadt Winters Jureller Southard &      17th Floor
Counsel to Alltrista Plastics, LLC                         Stevens, LLP                              New York NY 10036                                                    kaiello@klestadt.com                Email
                                                                                                     Attn: Wes Bulgarella
                                                                                                     1901 Sixth Avenue North
Counsel to Susheel Kirpalani, Litigation Trustee of                                                  1700 Regions/Harbert Plaza
the Remington Litigation Trust                             Maynard, Cooper & Gale, P.C.              Birmingham AL 35203                                                  wbulgarella@maynardcooper.com       Email
                                                                                                     Attn: Jennifer K. Christian, Esq.
                                                                                                     2660 West Park Drive, Suite 2
Counsel to Par 4 Plastics, Inc.                            Miller Hahn, PLLC                         Paducah KY 42001                                                     jchristian@millerlaw-firm.com       Email
                                                                                                     Nancy Mitchell; Diana M. Perez
                                                                                                     Times Square Tower
Attorneys for the Debtors and Debtors in                                                             7 Times Square                                                       nmitchell@omm.com
Possession                                                 O'Melveny & Myers LLP                     New York NY 10036                                                    dperez@omm.com                      Email
                                                                                                     Stephen H. Warren; Karen Rinehart
Attorneys for the Debtors and Debtors in                                                             400 South Hope Street                                                swarren@omm.com
Possession                                                 O'Melveny & Myers LLP                     Los Angeles CA 90071-2899                                            krinehart@omm.com                   Email
                                                                                                     Attn: Stephanie Thomas
                                                                                                     Office of the General Counsel
                                                                                                     1200 K Street, N.W.                                                  thomas.stephanie@pbgc.gov
Pension Benefit Guaranty Corporation                       Pension Benefit Guaranty Corporation      Washington DC 20005-4026                                             efile@pbgc.gov                      Email




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                                                                                                                        Master Service List
                                                                                                                     Served as set forth below

                     DESCRIPTION                                              NAME                                                        ADDRESS                        EMAIL            METHOD OF SERVICE
                                                                                                      Attn: David Malo
                                                                                                      55 East 52nd Street
                                                                                                      17th Floor                                        remingtonteam@PrimeClerk.com
Claims Agent                                               Prime Clerk, LLC                           New York NY 10055                                 serviceqa@primeclerk.com       Email
                                                                                                      Attn: President or General Counsel
                                                                                                      100 Electronics Blvd SW
Debtors                                                    Remington Outdoor Company, Inc.            Huntsville AL 35824                                                              First Class Mail
                                                                                                      Attn: Herbert H. Slatery III, Gina Baker Hantel
                                                           TN Attorney General's Office, Bankruptcy   PO Box 20207
Counsel to TN Department of Revenue                        Division                                   Nashville TN 37202-0207                           gina.hantel@ag.tn.gov          Email




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